                       Exhibit A
     to Enviro Tech Chemical
  Services, Inc.’s Opening Claim
        Construction Brief




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                  EXPERT DECLARATION OF JOSH HERRING, PH.D.
             IN SUPPORT OF ENVIRO TECH CHEMICAL SERVICES, INC.’S
                       PROPOSED CLAIM CONSTRUCTIONS

 I, Josh Herring, hereby declare and state as follows:


 I.     SCOPE OF THE ASSIGNMENT

 1.     I have been retained as an expert consultant and witness in Zeco, LLC v. Enviro Tech

 Chemical Services, Inc., No. 3:19-cv-00201, by Patterson Intellectual Property Law, P.C., the law

 firm representing Enviro Tech Chemical Services, Inc. (“Enviro Tech”) in this matter to provide

 my expert opinions and expert knowledge.


 2.     This report addresses Enviro Tech’s proposed constructions for certain claim terms of U.S.

 Patent No. 10,912,321 (“the ’321 patent”). This report details why Enviro Tech’s proposed

 constructions are the constructions that would have been understood by a person having ordinary

 skill in the art (“POSITA”) at the time of the invention.


 3.     I have been asked to provide my independent technical review, analysis, insights, and

 opinions regarding Enviro Tech’s proposed constructions.


 4.     In preparing this declaration, I have reviewed and am familiar with all the documents cited

 herein. I have reviewed and am familiar with the ’321 patent and its file history. I confirm that to

 the best of my knowledge that any accompanying exhibits are true and accurate copies of what

 they purport to be, and that an expert in the field would reasonably rely on them to formulate

 opinions such as those set forth in this declaration.


 5.     I am being compensated through vendor Rubin/Anders Scientific, Inc., with which

 Patterson Intellectual Property Law, P.C. has agreed to pay a rate of $250 per hour. My

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 compensation in this matter is not contingent on my opinion or testimony or on the outcome of

 this proceeding.


 6.     The matters and opinions stated herein are true and correct to the best of my understanding.

 The facts set forth in this declaration are personally known to me and I have firsthand knowledge

 thereof. If called upon to do so, I could and would competently testify to these matters under oath.


 II.    QUALIFICATIONS AND RELEVANT EXPERIENCE

 7.     In forming the opinions expressed in this declaration, I have considered and relied upon

 my education, background, and experience. In addition, I have reviewed and relied upon additional

 materials in preparation of this declaration, as described below.


 8.     My experience and education are detailed in my curriculum vitae (“CV”), a copy of which

 is provided as Exhibit F. My CV also lists publications on which I am a named author and grant

 awards that I have received. I have not previously provided expert testimony in any litigation

 matters.


 9.     I am currently a Professor of Food & Animal Sciences at Alabama A&M University. I

 obtained my B.S. in Animal and Dairy Sciences Pre-Veterinary Medicine from Auburn University

 in 1998. Thereafter, I began my professional career working as a Meat Laboratory Assistant

 Manager, Animal and Dairy Sciences, at Auburn University from 1999 to 2000, where I

 maintained HACCP and daily SSOP records and assisted in red meat fabrication, slaughter, and

 sale. I then attended graduate school at Mississippi State University, where I obtained an M.S. in

 Food Science and Technology in 2002 and a Ph.D. in Food Science and Technology in 2004, with

 a major emphasis in Meat Science and a Minor in Microbiology. Upon graduation in 2004, I took

 a position as a Research Assistant Professor of Food & Animal Sciences at Alabama A&M
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 University. I was promoted to Associate Professor in 2011 and to my current full Professor position

 in 2016. Throughout this tenure at Alabama A&M, I have taught classes including but not limited

 to Food Chemistry, Meat and Poultry Science, and Analytical Techniques and Instrumentations.

 The aforementioned courses discuss and evaluate the concepts of product development and food

 characteristic measurements, to include food quality and food safety.


 10.    I am a member of several professional associations, including the American Meat Science

 Association (AMSA) and the Institute of Food Technologists (IFT). I am also Hazard Analysis

 Critical Control Point (HACCP) certified, as well as HACCP train-the-trainer certified through the

 International HACCP Alliance and the Consumer Brands Association, formerly the Grocery

 Manufacturers Association. Among various awards, I received the IFT Achievement Award in

 2011, 2012, and 2013 and the Journal of Food Science Most Cited Food Chemistry and Toxicology

 Article in 2007. I have also served in various roles for USDA grant review panels and as a reviewer

 for various journals, including Meat Science, Journal of Food Quality, Poultry Science, and

 Scientific Journals International.


 11.    I have a unique perspective on the poultry industry, as, unlike many academics, I have

 practical experience working in poultry processing plants. Prior to my graduate studies, I was

 employed by Gold Kist Inc. At Gold Kist Inc., I was a Line Supervisor at the Trussville, AL Gold

 Kist poultry processing plant. As the Line Supervisor I was responsible for KFC (Kentucky Fried

 Chicken) cut up. Part of my duties in this position was to monitor water temperature, product

 temperature, and pH as out-of-compliance processing required rework of products.


 12.    All told, I have over 25 years of continuous industrial and academic experience regarding

 animal and food production systems, not to include employment with Murphy’s Dairy Farm in

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 Anderson, SC from 1989-1994, and, beginning in 1997, at the Swine Research Teaching and

 Education Center (SRTEC) at Auburn University. At SRTEC research was conducted for genetic

 improvement for pork loin size and marbling while reducing porcine stress syndrome (PSS).


 III.     MATERIALS CONSIDERED

 13.      In my study of this matter, to the extent I have requested various materials, counsel for

 Enviro Tech has promptly provided those materials.


 14.      I have reviewed and relied upon the materials cited herein, as well as those listed in the

 table below, in preparation of this declaration. Citations to these materials that appear in this report

 are meant to be exemplary but not exhaustive. Although some references listed may have not been

 directly cited in this declaration, they still informed my consideration of the knowledge of a

 POSITA and my opinions depending thereon.


       Exhibit No.                                      Description

           B          U.S. Patent No. 10,912,321 to Harvey and Howarth.

           C          U.S. Patent No. 10,089,321 Certified Prosecution History

           D          U.S. Patent No. 10,745,338 to Bullard et al.

           E          U.S. Patent No. 9,771,283 to Bullard et al.

           F          CV of Dr. Josh Herring


 15.      Lastly, and as detailed below, I relied on counsel for my legal understandings, particularly

 with respect to patent law and, more particularly, claim construction.




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 16.    This report represents my findings based on information available as of the date of this

 report. Additional information may become available that could further support or modify the

 conclusions that I have reached to date. I reserve the right to analyze newly discovered information

 and provide an updated report. Further, I reserve the right to consider and comment on any

 additional expert statement and testimony provided in this matter. Any changes or necessary

 amplification of these conclusions will be addressed in supplemental reports or testimony, which

 I reserve the right to provide.


 IV.    APPLICABLE LEGAL STANDARDS

 17.    I am not an expert in the law, patent or otherwise. Therefore, to assist in my analysis, I

 have been told by counsel that the following legal principles apply to analysis of claim

 construction. I understand that other legal doctrines may apply and reserve the right to amend or

 alter my analysis should my understanding of the governing legal principles change.


 18.    The words of a claim are given their ordinary and customary meaning as they would be

 understood by a person of ordinary skill in the art at the time of the invention. I also understand

 that, generally, it is improper to import limitations from the patent specification into the claims. In

 some instances, the specification may reveal a special definition given to a claim term by the

 patentee that differs from the meaning it would otherwise possess. In such instances, the inventor’s

 lexicography governs.


 19.    To determine a claim’s meaning, one should rely primarily on intrinsic evidence. In order

 of significance, intrinsic evidence includes (1) the claim language itself, (2) the specification, and

 (3) the prosecution history. Accordingly, one looks first to the words of the claims themselves,

 both asserted and non-asserted, to define the scope of the patented invention. One then turns to the

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 specification, which is always highly relevant to the claim construction analysis and can serve as

 the single best guide to the meaning of a disputed term. One may then look to the prosecution

 history, which provides evidence of how the Patent and Trademark Office and the inventor

 understood the patent, including whether the inventor intended to limit the invention.


 20.    In appropriate circumstances, a court may also rely on extrinsic evidence, which consists

 of all evidence external to the patent and prosecution history, including expert and inventor

 testimony, dictionaries, and learned treatises. Within the class of extrinsic evidence, dictionaries

 and treatises can be useful, because dictionaries, and especially technical dictionaries, endeavor to

 collect the accepted meanings of terms used in various fields of science and technology.


 21.    I also understand that, where a claim term has more than one “ordinary” meaning, or when

 reliance on a term’s “ordinary” meaning does not resolve the parties’ dispute, a determination that

 a claim term needs construction must be made as the plain and ordinary meaning may be

 inadequate.


 22.    I understand that the relevant time for considering whether a claim would have been

 obvious to a POSITA is the time of the invention, which I have been told to assume for this case

 is March 24, 2011. My understanding from counsel is that, because this patent issued from a

 continuation-in-part application, the time of invention for some claims may be August 16, 2011. I

 further understand from counsel, that the reason is that additional subject matter may be added to

 a continuation-in-part application. Notwithstanding, as of the date of this declaration, my reliance

 on either March 24, 2011, or August 16, 2011, for the time of invention would lead to the same

 analysis.



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 V.     OVERVIEW OF THE ’321 PATENT

 23.    U.S. Patent No. 10,912,321 is entitled “Methods of Using Peracetic Acid to Treat Poultry

 in a Chill Tank During Processing.” The ’321 patent issued from U.S. Patent App. No. 13/199,029

 (“the ’029 application”), filed on August 16, 2011. The ’029 application claims priority to U.S.

 Patent App. No. 13/065,553 (“the ’553 application”), filed on March 24, 2011.


        A.      Technological Background of Poultry Processing

 24.    Poultry meat from healthy chickens does not inherently have microorganisms present. The

 microorganisms arrive on/in the meat typically through processing contamination (contaminated

 water, contaminated surfaces, and gastrointestinal contamination). Microorganisms of particular

 concern include species of Salmonella and Campylobacter, as well as Escherichia coli.


 25.    Poultry processors therefore use antimicrobial agents and refrigeration to control microbial

 growth. A common poultry processing method that combines the use of antimicrobial agents and

 refrigeration is known as immersion chilling. “[S]ubmersion in large chilled water baths [i.e.,

 immersion chilling] is the allowed and preferred method for the rapid reduction in carcass

 temperature after evisceration.” (Ex. D at 2:44-47.) Federally mandated guidelines require that the

 poultry carcasses must be rapidly chilled to a temperature below 40° F. (Ex. E at 3:31-35.) For

 example, 9 CFR 381.66 requires that birds under 4 lbs. have to reach 40° F or below within 4

 hours, 4-8 lbs. in 6 hours, and over 8 lbs. at 8 hours. To control cross-contamination in these

 “chiller tanks,” specialized chemistries are added to kill or reduce the amount of unwanted

 microorganisms. (Ex. D at 2:48-64.)


 26.    In the past, poultry processors typically used chlorine-based antimicrobials. Chlorine-

 based antimicrobials have wide acceptance across the food production industry as they are

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 considered inexpensive and have high efficacy. The mechanism of action for the hypochlorous

 acid molecules is easily understood as they diffuse through microbial cell walls and, as a strong

 oxidizer, limit enzymatic activity necessary for energy production.


 27.     Chlorine-based antimicrobials are a concern for the food production industry. Disinfection

 byproducts may serve as contaminants for other reactions (similar to antioxidants actually

 promoting oxidation) (Shen C. Norris, et. al, Generation of Chlorine by-products in simulate wash

 water, 190 FOOD CHEMISTRY 97 (2015), doi.org/10.1016/j.foodchem.2015.04.146) and are

 considered health risks (S. Hrudey, Chlorination disinfection by-products, public health risk

 tradeoffs and me, 43:8 WATER RESEARCH 2057 (2009), doi.org/10.1016/j.watres.2009.02.011).


 28.     However, peracetic acid (PAA) is an oxidation product of acetaldehyde and can be

 produced through the combination of acetic acid and hydrogen peroxide in the presence of sulfuric

 acid. PAA is highly effective, although the mechanisms of action for this effectiveness and not

 fully understood or agreed upon. (Rurala, W. & D. Weber, 2019. Guideline for Disinfection and

 Sterilization in Health Care Facilities, 2008, CDC Healthcare Infection Control Practices

 Advisory     Committee,      Cdc.gov/infectioncontrol/guidelines/disinfection).       PAA      has   less

 disinfection byproducts, does not have concerns about antimicrobial resistance, and, when

 degraded, is harmless.


 29.     Except for the intervention chemistry, the immersion chilling process used widely

 throughout the domestic poultry processing industry has generally remained the same. In large

 facilities, a continual flow of poultry carcasses is fed into the lead-in section of a large chiller tank.

 (Ex. E at 3:37-42.) The poultry carcasses are then continually moved through the chiller tank by,

 e.g., an auger or large paddles. (Ex. E at 3:43-59.) Such operations typically utilize multiple

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 separate chiller tanks connected in series so that the poultry carcasses are subjected to cleaner and

 cleaner water. (Ex. E at 3:60-67.) Water carryover on the poultry carcass surface from one tank to

 another lower chiller tank water levels, requiring recirculation of “make up water” from

 downstream tanks. (Ex. E at 4:18-40.) The continuous process runs for several hours. (Ex. E at

 4:49-61.)


 30.    It has also become common to introduce the poultry carcasses into a pre-chiller before

 moving them in to the main chiller(s) described above. And it has become common to immerse

 the poultry carcasses in a final chiller before they are processed further for sale. The entirety of the

 process for poultry process is to move from a dirtier side to a cleaner side. Progressing through the

 different chillers introduces the poultry to successively cleaner and colder water.


 31.    The ’321 patent discusses this process in the context of experimental trials performed at a

 “major U.S. processor of poultry.” (Ex. B at 58:10-60:24 (Example 24).) For example, the ’321

 patent notes that the plant typically processes about 200,000 or more birds a day for five days a

 week. (Ex. B at 58:23-24.) It also describes the plant’s procedure as implementing a contact time,

 i.e., a time during which the poultry is immersed in an antimicrobial solution, of 70 minutes. (Ex.

 B at 58:33-35.)


 32.    In my experience, the immersion chilling process described above is typical of that used

 by large U.S. poultry processors. My experience includes that as part of my University’s animal

 science program, after which I entered the poultry industry to utilize the material I learned and the

 experiences I had from growing up on a family farm and working with swine research. I wanted

 to conduct research, so I resigned my industry position and attended graduate school at Mississippi

 State University in the area of food science. Research was conducted on meat safety, shelf-life,

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 processing, etc. My M.S. and Ph.D. degrees are in food science with a focus on meat chemistry

 and a minor in microbiology. Since 2004 I have been employed at Alabama A&M University in

 the area of Food Biochemistry/Food Chemistry and have worked with Aviagen, Tyson, and Wayne

 Farms to name a few where we discussed processing, recruiting students, and technology

 advancements. I have conducted research regarding edible coatings of pork to reduce pathogens,

 probiotic and prebiotic feeds for poultry to reduce gastrointestinal pathogens, and poultry marinade

 uptake rates. I have taught classes regarding meat and poultry production and processing since my

 hire date (almost 18 years). I am a Hazard Analysis and Critical Control Point (HACCP) Certified

 Trainer as approved by the International HACCP Alliance and Grocery Manufacturers

 Association. I have developed courses and taught students, industry, and government personnel

 HACCP. I have incorporated HARP-C, FSMA, and ISO into the three-day course to ensure that

 participants are well versed in the safety and regulation of food.


 33.    USDA guidelines require that poultry processing facilities maintain Hazard Analysis and

 Critical Control Point (“HACCP”) plans. These plans provide a systematic, preventative process

 that relies on the control of physical, chemical, and biological hazards rather than finished product

 inspection to ensure food safety. (Ex. E at 5:35-45.) Key production steps, known as Critical

 Control Points (“CCPs”), are monitored to reduce or eliminate the risk of hazards potentially

 present, including during the chilling process. (Ex. E) As noted previously, I am both HACCP

 certified and HACCP Train-the-Trainer certified. I have experience in maintaining HACCP

 records. I have taught industry personnel in HACCP courses on the items that should be included,

 the items that could be included, and the items that should not be included in HACCP plans. As

 part of the examination process for these HACCP courses, participants are required to compose a

 HACCP plan for the meat product of their choosing. Those plans are reviewed by me and discussed

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 in the course. This promotes critical thinking of all involved and challenges me to stay abreast of

 industry practices and policies. Several of the industry participants have had me review specific

 CCP concerns of their HACCP plans, sometimes suggesting modifications. In my experience,

 examples of CCPs include antimicrobial sanitizer concentrations, pH, and cooling and cooking

 temperatures, with many of these using time as a factor of exposure. These CCPs are built upon

 the POSITA acknowledging that the level of cleanliness of equipment or product, the temperature

 of the solution, and even mixing speed significantly influences the abilities of a sanitizing solution.

 Service providers of chemical intervention programs for the chilling processes at poultry

 processors typically participate in formulating and validating HACCP plans. This is in fact one of

 the preliminary if not a pre-step for writing a HACCP plan; assembling a HACCP team that

 consists of positions that will implement, review, or conduct the HACCP plan.


 34.    The methods claimed in the ’321 patent are directed, at least in part, to pH control in the

 chill tanks. For example, Claim 1 describes a method wherein the pH of peracetic-containing water

 in a reservoir, such as a chill tank, is determined and then altered to a pH of about 7.6 to about 10.

 (Ex. B at 61:31-58.) Poultry processing facilities have a set pH that they maintain in compliance

 with their filed HACCP plans and other USDA regulations. As an acid, equilibrium PAA has a pH

 below 7. However, both the methods claimed in the ’321 patent involve immersing poultry in

 PAA-containing water having a basic pH, which, if the PAA-containing water is at an acidic pH,

 requires the addition of an alkaline source to raise the pH of the PAA-containing water. Because

 the PAA dissociates both as a function of pH and as part of the antimicrobial process, fresh PAA

 must be added to maintain effective concentrations. An example of the dissociation curve for PAA

 as a function of pH is shown below:



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 The resulting fluctuations in pH require periodic checks or continuous monitoring as part of the

 chemical intervention process to maintain the desired pH of the PAA-containing water in the chill

 tank.


         B.     Summary of the ’321 Patent

 35.     The ’321 patent claims methods of processing poultry that involve maintaining the pH of

 the PAA-containing water in which the poultry carcasses are immersed, e.g., chill tanks, within a

 certain range. Claim 1 describes a method wherein the pH of peracetic-containing water in a

 reservoir, such as a chill tank, is determined and then altered to a pH of about 7.6 to about 10. (Ex.

 B at 61:31-58.) For purposes of claim construction only, claim 1 is representative:




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        1. A method of treating at least a portion of a poultry carcass with peracetic acid,

        said method comprising the steps of:

               [a] providing, in a reservoir, a peracetic acid-containing water, wherein the

               peracetic acid-containing water comprises water and an antimicrobial

               amount of a solution of peracetic acid;

               [b] after the step of providing the peracetic acid-containing water,. [sic]

               determining the pH of the peracetic acid-containing water, and altering the

               pH of the peracetic acid-containing water to a pH of about 7.6 to about 10

               by adding an alkaline source;

               [c] after the step of determining the pH and altering the pH of the peracetic

               acid-containing water, placing into the peracetic acid-containing water at

               least a portion of a poultry carcass;

               [d] after the step of placing at least the portion of the poultry carcass into

               the peracetic acid-containing water, determining the pH of the peracetic

               acid-containing water in the reservoir with at least the portion of the poultry

               carcass therein, and altering the pH of the peracetic acid-containing water

               to a pH of about 7.6 to about 10 by adding an alkaline source; and

               [e] after the step of determining the pH and altering the pH of the peracetic

               acid-containing water having at least the portion of the poultry carcass

               therein, removing at least the portion of the poultry carcass from the

               peracetic acid-containing water.


 36.    In simple terms, the claimed method involves maintaining the pH of the PAA-containing

 water within a particular pH range. This is accomplished by monitoring the pH and adding an

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 alkaline source to either ensure that the pH stays within the desired pH range or, if the pH moves

 outside the desired pH range, to adjust it back to within that desired range. This provides the benefit

 of increased yield as it moves the solution and ultimately the product farther from the isoelectric

 point of the meat.


 37.    As discussed in more detail below, the claims do not require that the PAA-containing water

 have any specific amount of PAA, so long as it is an antimicrobial amount.


 38.    Also discussed in more detail below, the claims do not require any specific method of

 determining the pH of the PAA-containing water. For example, when discussing monitoring the

 pH, the specification states that pH may be determined by “any method,” and lists examples of

 both direct and indirect industry standard methods. (Ex. B at 34:32-34.)


 39.    The specification discloses embodiments of this method useful in large commercial

 operations. For example, the ’321 patent discloses that the method may be performed continuously,

 as it was done previously with chlorine-based antimicrobial interventions, and that the method

 may be automated.

        It is preferable to perform this step more than once, and most preferable to perform
        it continuously. This step may be performed manually or, if it is to be performed
        continuously, it may be automated. In this embodiment and in the other
        embodiments that include a pH-determining step and a pH-altering step, it is
        preferable to perform the pH-determining and the pH-altering continuously and in
        an automated fashion. A suitable system for automating includes a glass electrode,
        a pH meter, a controller, and a pump. The glass electrode is used to read the pH and
        is connected to the pH meter which is interfaced to the controller. The controller’s
        set point is pre-programmed to a specific desired pH. The controller is also
        interfaced to a pump which is connected to either a source of acid or a source of
        alkali. The controller receives the input from the pH meter (the actual pH of the
        PAA-containing water). If the pH input is different from the set point pH, then the
        controller directs the pump to deliver the appropriate amount of a source of acid or
        a source of akali [sic] to the PAA-containing water in the reservoir in order to alter
        the pH to the set point pH.

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 (Ex. B at 37:63-38:16). This is consistent with my experience through the poultry

 slaughter/processing industry, product development and meat product production, and even

 fermented beverage industry. Various parameters hinge upon the ions (cation and anion) present

 as they may restrict or promote reaction rates. In this case, the pH, or [H+], is being measured to

 increase the safety of the product while increasing the water holding capacity; with the former

 taking precedence. Continuous monitoring ensures a safer consumer product.


 VI.      LEVEL OF ORDINARY SKILL IN THE ART

 40.      Enviro Tech has requested that I provide my understanding of what would be the

 qualifications of a POSITA with respect to the ’321 patent. I understand from Enviro Tech’s

 counsel that a POSITA is a hypothetical person who is presumed to have known the relevant art

 at the time of the invention. I further understand that factors to be considered in determining the

 level of ordinary skill in the art may include: (1) the types of problems encountered in the art, (2)

 the prior art solutions to those problems, (3) the rapidity with which innovations are made, (4) the

 sophistication of the technology, and (5) the educational level of active workers in the field.


 41.      In my opinion, a POSITA would have been a person with a bachelor’s degree in a relevant

 field with 5-7 years’ experience, a master’s degree in a relevant field with 3-5 years’ experience,

 or a Ph.D. in a relevant field.


 VII. ENVIRO TECH’S PROPOSED CLAIM CONSTRUCTIONS
 42.      I understand that Enviro Tech has provided a preliminary set of proposed claim

 constructions for certain terms of the ’321 patent that the parties identified to the Court as requiring

 construction. Enviro Tech’s preliminary proposed claim constructions are summarized in the table

 below:

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      Claim           Term for Construction              Enviro Tech’s Proposed Constructions
  1, 2, 3, 4, 10,   “antimicrobial amount”           Plain and ordinary meaning: an amount
  11, 12, 13,                                        sufficient to eradicate or reduce microorganisms
  19, 20, 24,
  25, 29, 30
  1, 5, 9, 10,      “determining the pH of the       Plain and ordinary meaning: determining the pH
  14, 18, 19,       peracetic acid-containing        of the peracetic acid-containing water by any
  21, 23, 24,       water”                           method
  26, 28, 29,
  31, 33
  1, 6, 9, 10,      “altering the pH of the          Adjusting the pH of the peracetic acid-
  15, 18, 19,       peracetic acid-containing        containing water to a pH of about [respective
  22, 23, 24,       water to a pH of about”          claimed pH range]
  27, 28, 29,       [respective claimed pH
  32, 33            range]”
  1, 6, 9, 10,      “after the step”                 Plain and ordinary meaning: subsequent to
  15, 18, 19,
  22, 23, 24,
  27, 28, 29,
  32, 33

 43.     I understand that Zeco, LLC (“Zee”) has provided a preliminary set of proposed claim

 constructions for certain terms of the ’321 patent that the parties identified to the Court as requiring

 construction. Zee’s preliminary proposed claim constructions are summarized in the table below:


      Claim           Term for Construction                 Zee’s Proposed Constructions
  1, 2, 3, 4, 10,   “antimicrobial amount”           Between about 0.54 ppm and about 99 ppm
  11, 12, 13,
  19, 20, 24,
  25, 29, 30
  1, 5, 9, 10,      “determining the pH of the       Measuring the acidity or alkalinity of the
  14, 18, 19,       peracetic acid-containing        peracetic-acid containing water in the reservoir
  21, 23, 24,       water”
  26, 28, 29,
  31, 33
  1, 6, 9, 10,      “altering the pH of the          Raising the acidic pH of the peracetic acid-
  15, 18, 19,       peracetic acid-containing        containing water in the reservoir to an alkaline
  22, 23, 24,       water to a pH of about”          pH of [the respective claimed pH range]
  27, 28, 29,       [respective claimed pH
  32, 33            range]”
  1, 6, 9, 10,      “after the step”                 STEP ORDER – This term requires each of the
  15, 18, 19,                                        steps recited must be performed in the order
  22, 23, 24,                                        written.
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  27, 28, 29,
  32, 33

 44.    The table below shows how Enviro Tech and Zee’s proposed constructions would be

 inserted into the claims:



  Original Claim                     Enviro Tech’s Construction         Zee’s Construction

  1. A method of treating at least   1. A method of treating at least   1. A method of treating at least
  a portion of a poultry carcass     a portion of a poultry carcass     a portion of a poultry carcass
  with peracetic acid, said          with peracetic acid, said          with peracetic acid, said
  method comprising the steps        method comprising the steps        method comprising the steps
  of:                                of:                                of:

  [a] providing, in a reservoir, a   [a] providing, in a reservoir, a   [a] providing, in a reservoir, a
  peracetic      acid-containing     peracetic      acid-containing     peracetic       acid-containing
  water, wherein the peracetic       water, wherein the peracetic       water, wherein the peracetic
  acid-containing           water    acid-containing           water    acid-containing           water
  comprises water and an             comprises water and an an          comprises water and an
  antimicrobial amount of a          amount sufficient to eradicate     between about 0.54 ppm and
  solution of peracetic acid;        or reduce microorganisms of a      about 99 ppm of a solution of
                                     solution of peracetic acid;        peracetic acid;



  [b] after the step of providing    [b] subsequent to of providing     [b] STEP ORDER – This term
  the peracetic acid-containing      the peracetic acid-containing      requires each of the steps
  water,. [sic] determining the      water,. [sic] determining the      recited must be performed in
  pH of the peracetic acid-          pH of the peracetic acid-          the order written - of
  containing water, and altering     containing water by any            providing the peracetic acid-
  the pH of the peracetic acid-      method, and adjusting the pH       containing      water,.     [sic]
  containing water to a pH of        of the peracetic acid-             measuring the acidity or
  about 7 .6 to about 10 by          containing water to a pH of        alkalinity of the peracetic-acid
  adding an alkaline source;         about 7 .6 to about 10 by          containing water in the
                                     adding an alkaline source;         reservoir, and raising the
                                                                        acidic pH of the peracetic
                                                                        acid-containing water in the
                                                                        reservoir to an alkaline pH of
                                                                        7 .6 to about 10 by adding an
                                                                        alkaline source;

  [c] after the step of [c]     subsequent to of [c] STEP ORDER – This term
  determining the pH and determining the pH and requires each of the steps
  altering the pH of the altering the pH of the recited must be performed in
                                      17


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  peracetic      acid-containing     peracetic      acid-containing     the order written - of
  water, placing into the            water, placing into the            determining the pH and
  peracetic      acid-containing     peracetic      acid-containing     altering the pH of the
  water at least a portion of a      water at least a portion of a      peracetic      acid-containing
  poultry carcass;                   poultry carcass;                   water, placing into the
                                                                        peracetic      acid-containing
                                                                        water at least a portion of a
                                                                        poultry carcass;

  [d] after the step of placing at   [d] subsequent to of placing at    [d] STEP ORDER – This term
  least the portion of the poultry   least the portion of the poultry   requires each of the steps
  carcass into the peracetic acid-   carcass into the peracetic acid-   recited must be performed in
  containing water, determining      containing water, determining      the order written - of placing
  the pH of the peracetic acid-      the pH of the peracetic acid-      at least the portion of the
  containing water in the            containing water by any            poultry carcass into the
  reservoir with at least the        method in the reservoir with at    peracetic      acid-containing
  portion of the poultry carcass     least the portion of the poultry   water, measuring the acidity
  therein, and altering the pH of    carcass therein, and adjusting     or alkalinity of the peracetic-
  the peracetic acid-containing      the pH of the peracetic acid-      acid containing water in the
  water to a pH of about 7 .6 to     containing water to a pH of        reservoir in the reservoir with
  about 10 by adding an alkaline     about 7 .6 to about 10 by          at least the portion of the
  source; and                        adding an alkaline source; and     poultry carcass therein, and
                                                                        raising the acidic pH of the
                                                                        peracetic      acid-containing
                                                                        water in the reservoir to an
                                                                        alkaline pH of 7 .6 to about 10
                                                                        by adding an alkaline source;
                                                                        and

  [e] after the step of              [e]    subsequent     to    of     [e] STEP ORDER – This term
  determining the pH and             determining the pH and             requires each of the steps
  altering the pH of the             altering the pH of the             recited must be performed in
  peracetic      acid-containing     peracetic      acid-containing     the order written - of
  water having at least the          water having at least the          determining the pH and
  portion of the poultry carcass     portion of the poultry carcass     altering the pH of the
  therein, removing at least the     therein, removing at least the     peracetic      acid-containing
  portion of the poultry carcass     portion of the poultry carcass     water having at least the
  from the peracetic acid-           from the peracetic acid-           portion of the poultry carcass
  containing water.                  containing water.                  therein, removing at least the
                                                                        portion of the poultry carcass
                                                                        from the peracetic acid-
                                                                        containing water.




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 VIII. ANALYSIS

        A.      “antimicrobial amount”

     Enviro Tech’s Proposed Construction      Zee’s Proposed Construction
  Plain and ordinary meaning: an amount Between about 0.54 ppm and about 99 ppm
  sufficient  to    eradicate  or    reduce
  microorganisms


 45.    The term “antimicrobial amount” appears in claims 1, 2, 3, 4, 10, 11, 12, 13, 19, 20, 24,

 25, 29, 30.


 46.    The term “antimicrobial amount” is an accepted term within the microbiology field. I agree

 that Enviro Tech’s proposed construction—“an amount sufficient to eradicate or reduce

 microorganisms”—captures the ordinary meaning of that term within the field. The ’321 patent

 and its prosecution history are also consistent with that understanding of the term.


 47.    By way of example, many parameters in microbiology are defined by their function or

 result rather than specific ranges during processing. For example, in bottling water, the important

 measurement is the chemical composition being placed into the bottle. Because of variability in

 the water derived from the water source, it is unpredictable how much chemical may be needed to

 clean the water or give the water the desired taste. Thus, in this context, an antimicrobial amount

 would be focused on the function: eradicating any microbiological contaminations. Because the

 amount of contamination can vary, the important consideration is that the amount irradicates the

 contamination present, not that a specific amount of antimicrobial agent is used.


 48.    Claim 1 recites: “providing, in a reservoir, a peracetic acid-containing water, wherein the

 peracetic acid-containing water comprises water and an antimicrobial amount of a solution of

 peracetic acid.” Claim 4 then recites: “The method of claim 1 wherein the antimicrobial amount

                                                 19


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 of the peracetic acid is about 1 ppm to about 99 ppm.” A similar structure is seen for claims 10

 and 13, claims 19 and 20, claims 20 and 45, and claims 29 and 30.


 49.    Accordingly, it is my opinion that a POSITA would have understood “antimicrobial

 amount” to have a functional meaning, i.e., the amount sufficient to eradicate or reduce

 microorganisms. I disagree that a POSITA would have understood “antimicrobial amount,” as

 used in claims 1, 10, 19, 20, and 29 to be limited to a numerical range. A POSITA would have

 understood that, where a numerical range was intended, the claims would expressly include that

 intended numerical range.


 50.    I note that the specification explains that the “amount of PAA that is used depends on the

 microbiological condition of the carcasses.” (Ex. B at 30:12-14.) A POSITA would therefore have

 understood that the amount of PAA that constitutes an “antimicrobial amount” varies depending

 on the level of contamination of the carcasses. A carcass with higher contamination, such as

 feathers, bodily fluids, blood, plasma, and feces, would need a higher level (amount or

 concentration) of PAA. As one can imagine, when processing hundreds of carcasses, these

 contaminations compound and require even higher levels of PAA.


 51.    A POSITA would also have understood that the amount of PAA that constitutes an

 “antimicrobial amount” varies with other conditions, such as processing conditions including

 water flow, water temperature, water hardness, water pH, water contaminants (microbial or

 organic), proximity to different light sources, humidity, overrun of water, and where the

 measurement of concentration is taken in the reservoir can all affect the reading of the PAA

 concentration.



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 52.    Accordingly, in my opinion, the specification further supports the notion that a POSITA

 would have understood “antimicrobial amount” to have a functional meaning rather than being

 limited to a specific range.


 53.    I also note that during prosecution claims reciting an “antimicrobial amount” were rejected

 over prior art disclosing 100 ppm to 2000 ppm of PAA. For example, in a September 16, 2014,

 non-final office action, the examiner rejected pending claims 1-4 as anticipated by Kurschner et al

 (US 5,632,676). (Ex. C at 302.) Pending claim 1 recited “an antimicrobial amount of a non-

 equilibrium solution of peracetic acid.” As the examiner noted at page 3 of the rejection with

 respect to pending claim 1, Kurschner discloses a “method for sanitizing a fowl that has been

 defeathered and eviscerated by contacting the fowl with peracetic acid solution containing from

 100 to 2000 ppm peracetic acid.” (Ex. C at 302.) By the rejection, dated July 9, 2019, the examiner

 no longer pointed to specific ranges of PAA concentration in the rejections, instead citing to

 general disclosures of PAA being used as an antimicrobial agent. (Ex. C at 1143.) Thus, a POSITA

 would have understood that the examiner believed the “antimicrobial amount” limitation was met

 by 100 to 2000 ppm peracetic acid.


 54.    Accordingly, in my opinion, the prosecution history further supports the notion that a

 POSITA would have understood “antimicrobial amount” to have a functional meaning rather than

 being limited to a specific range.


 55.    When the claims, the specification, and the prosecution history are considered together, a

 POSITA would have understood that “antimicrobial amount” was being used according to its

 ordinary functional meaning rather than a specific numerical range. I did not see anything in the

 intrinsic evidence to support narrowing “antimicrobial amount” from its functional, generally

                                                 21


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 descriptive meaning. Accordingly, it is my opinion that a POSITA would have understood

 “antimicrobial amount” to mean “an amount sufficient to eradicate or reduce microorganisms.”


         B.      “determining the pH of the peracetic acid-containing water”

     Enviro Tech’s Proposed Construction               Zee’s Proposed Construction
  Plain and ordinary meaning: determining the Measuring the acidity or alkalinity of the
  pH of the peracetic acid-containing water by peracetic-acid containing water in the reservoir
  any method


 56.     The term “determining the pH of the peracetic acid-containing water” appears in claims 1,

 5, 9, 10, 14, 18, 19, 21, 23, 24, 26, 28, 29, 31, 33.


 57.     Zee has proposed that “determining the pH of the peracetic acid-containing water” should

 be limited to “Measuring the acidity or alkalinity of the peracetic-acid containing water in the

 reservoir.” I have provided my opinion as to how a skilled artisan would have understood the plain

 and ordinary meaning of this term.


                 1.      Scientific overview of pH

 58.     pH is actually a measure of the free hydrogen ion activity in an aqueous solution. The pH

 scale ranges from 0 to 14. A pH of 7 is neutral. The pH of pure water, for example, is 7 at 25 °C.

 A pH of less than 7 indicates acidity, whereas a pH of greater than 7 indicates alkalinity (also

 known as a basic pH).




                                                   22


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                                    1343
 59.    pH is reported in “logarithmic units” that represent the decimal logarithm of the reciprocal

 of the free hydrogen ion activity in a solution. Each number represents a 10-fold change in the

 acidity/alkalinity of the solution. Thus, a solution with a pH of 8 is ten times more alkaline than a

 liquid having a pH of 7.


 60.    pH can be determined in a variety of ways. A pH meter having a glass electrode may be

 used to directly measure hydrogen ion activity. Assuming proper calibration, this method typically

 provides the most precise pH determinations. However, pH indicators may also be used. For

 example, indicator solutions or test strips may be placed into a solution. A pH indicator is a

 halochromic chemical compound added in small amounts to a solution that detects either hydrogen

 ions or hydronium ions so the pH can be determined visually. Normally, the indicator causes the

 color of the solution to change depending on the pH. Test strips (also called universal indicator

 paper) are made from absorbent paper that has been impregnated with indicator. When determining

 pH using an indicator, a visual comparison of the color of the indicator with a standard color chart

 provides a means to determine pH accurate to the nearest whole number. More precise



                                                  23


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 determinations may be obtained by measuring the color spectrophotometrically, using a

 colorimeter or spectrophotometer.


                2.      Construction of “determining the pH of the peracetic acid-containing
                        water.”

 61.    In my opinion, a POSITA would have understood “determining the pH of the peracetic

 acid-containing water” to capture the numerous methods for determining pH. This would include

 both direct methods, such as glass electrodes, and indirect methods, such as pH indicators.


 62.    The general language of the claims is just “determining the pH.” None of the claims provide

 any further limitations on how pH is to be determined. Thus, in my opinion, a POSITA would have

 understood that the claims indicate that pH may be determined by any method.


 63.    The specification expressly indicates that any method of determining pH would meet this

 limitation. On four occasions, the specification states: “The pH of the PAA-containing water is

 determined by any method, including the use of a glass electrode, indicator solutions, and pH test

 strips.” (Ex. B at 32:46–49; 33:49-51; 36:14-16; 37:29-31).


 64.    In my opinion, a POSITA would have understood that the patent applicants’ choice of the

 term “determining” further indicates that the scope of the disputed phrase includes both direct and

 indirect methods. This is because not all the exemplary methods listed in the specification involve

 direct measurement of hydrogen ion activity. For example, the indicators discussed above require

 a visual comparison to a color scale.


 65.    For the same reasons, it is my opinion that a POSITA would not have understood that

 “determining” requires directly determining the pH of the water in the reservoir, e.g., a chill tank.

 That is because, in commercial practice, the exemplary methods listed in the specification typically
                                                  24


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                                    1345
 involve measuring the pH of a sample of the water taken from the reservoir. The sample can be

 obtained in many forms, such as by dipping a sample from the reservoir, obtaining it from an outlet

 port built into the reservoir, or diverting a flow of water from the reservoir through a side pipe.

 With respect to indicator solutions, a POSITA would understand that a few drops of indicator

 solution would be added to a sample taken from the reservoir, not directly to the reservoir, which

 would not be feasible because it would require gallons rather than drops of the indicator solution.

 A POSITA also would have understood that, even when utilizing a glass electrode, commercial

 processing operations typically do not place the electrode directly in the reservoir, as it might be

 damaged by the mechanisms used to agitate the poultry carcasses or even the movement of the

 poultry carcasses themselves through the reservoir.


 66.    As discussed above, a POSITA would have understood that the pH scale includes acidic,

 alkaline, and neutral pHs. Thus, a POSITA would have understood the disputed phrase to include

 pH determinations of not only acidity and alkalinity, but also neutrality.


 67.    In addition, Zee’s proposed construction is inconsistent with a POSITA’s understanding of

 “determining pH” because there are other measurements of alkalinity and acidity besides pH. For

 example, total titratable acidity (TTA) is based on both unbonded and bonded ions in the solution,

 whereas pH is based on the unbonded ions. Although both determine the amount of ions present

 in the solution indicative of acidity, alkalinity, or neutrality, they do so in different ways. TTA is

 typically used to represent sensory perception (such as taste and smell), but TTA is not used for

 poultry processing because TTA does not provide useful information for the process. Therefore, a

 POSITA would believe Zee’s proposal to change the word “pH” to “alkalinity and acidity” is

 inconsistent with the plain and ordinary meaning of “determining pH” because it captures other


                                                  25


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                                    1346
 categories of determining acidity, alkalinity, or neutrality. Further, nothing in the patent or

 prosecution history would suggest the claims address TTA.


 68.    Accordingly, it is my opinion that a skilled artisan would have understood “determining

 the pH of the peracetic acid-containing water” to mean “determining the pH of the peracetic acid-

 containing water by any method.”


        C.      “altering the pH of the peracetic acid-containing water to a pH of about”
                [respective claimed pH range]”

     Enviro Tech’s Proposed Construction                Zee’s Proposed Construction
  Adjusting the pH of the peracetic acid- Raising the acidic pH of the peracetic acid-
  containing water to a pH of about [respective containing water in the reservoir to an alkaline
  claimed pH range]                             pH of [the respective claimed pH range]


 69.    The term “altering the pH of the peracetic acid-containing water to a pH of about”

 [respective claimed pH range] appears in claims 1, 6, 9, 10, 15, 18, 19, 22, 23, 24, 27, 28, 29, 32,

 33.


 70.    Zee has proposed that “altering the pH of the peracetic acid-containing water to a pH of

 about” [respective claimed pH range] should mean “Raising the acidic pH of the peracetic acid-

 containing water in the reservoir to an alkaline pH of [the respective claimed pH range].” I have

 provided my opinion as to how a POSITA would have understood the meaning of this term.


 71.    In my opinion, a POSITA would have understood, in the context of the claim, that “altering

 the pH of the peracetic acid-containing water to a pH of about [respective claimed ranged]”

 involves adjusting the pH. Adding an alkaline source, as described in the rest of the claim, will

 typically increase the pH. But if the alkaline source has a pH lower than the PAA solution being

 adjusted, then the pH will be lowered.

                                                 26


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                                    1347
 72.    Zee’s proposed construction requires that “altering the pH” involves raising the pH from

 an acidic pH to a pH falling with the claimed range. In my opinion, however, a POSITA would

 also have understood that the plain language of the claims only requires adjusting the pH to a

 number within the claimed range. In other words, a POSITA would understand that this element

 is met by increasing the pH from an alkaline pH, e.g., 7.2, to a higher alkaline pH, e.g., 9.0, or by

 lowering the pH from an alkaline pH, e.g., 11, to a lower alkaline pH, e.g., 9.0.


 73.    The specification describes several examples of adjusting the pH from an alkaline pH to a

 more alkaline pH prior to placing the poultry carcass in the peracetic acid-containing water. (See,

 e.g., Ex. B at 39:22-24 (Table XX) (7.86 to 8.96 and 7.84 to 10.04); 41:44-52 (7.36 to 9); 52:48-

 56 (5.1 to 9.2); 55:56-63 (7.4 to 9.1).) The specification describes one particular example where

 the pH was adjusted from an alkaline pH to a more alkaline pH after placing the poultry carcass in

 the peracetic acid-containing water so as to maintain a target pH of at least 9.0. It states: “The pH

 was periodically measured. The pH was altered at 150 minutes from 8.6 to 9.2, using sodium

 hydroxide 50% (3.64g).”). (Ex. B at 44:6-8)


 74.    Zee’s additional requirement of raising the pH from “acidic” to “alkaline” would exclude

 these disclosed embodiments from the claim. I am not aware of any intrinsic evidence that would

 have indicated to a POSITA an intention to exclude such embodiments.


 75.    Furthermore, a POSITA would have understood that most major chicken processors were

 already using automated systems to maintain proper chemical levels in their chill tanks. Because

 a POSITA would understand the goal of the claimed methods to be to maintain the PAA-containing

 water within a particular pH range, a POSITA would have understood the claims to cover



                                                  27


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 automated methods of maintaining a particular pH range. For example, the specification describes

 the following automated embodiment:

        It is preferable to perform this step more than once, and most preferable to perform
        it continuously. This step may be performed manually or, if it is to be performed
        continuously, it may be automated. In this embodiment and in the other
        embodiments that include a pH-determining step and a pH-altering step, it is
        preferable to perform the pH-determining and the pH-altering continuously and in
        an automated fashion. A suitable system for automating includes a glass electrode,
        a pH meter, a controller, and a pump. The glass electrode is used to read the pH and
        is connected to the pH meter which is interfaced to the controller. The controller’s
        set point is pre-programmed to a specific desired pH. The controller is also
        interfaced to a pump which is connected to either a source of acid or a source of
        alkali. The controller receives the input from the pH meter (the actual pH of the
        PAA-containing water). If the pH input is different from the set point pH, then the
        controller directs the pump to deliver the appropriate amount of a source of acid or
        a source of akali to the PAA-containing water in the reservoir in order to alter the
        pH to the set point pH.

 (Ex. B at 37:63-38:16).


 76.    Again, Zee’s additional requirement of raising the pH from “acidic” to “alkaline” would

 exclude such a continuous, automated embodiment from the claim. This is because the use of a

 feedback loop in a controller to maintain a desired pH setpoint would result in the addition of an

 alkaline source before the pH fell too far below the desired pH setpoint. For instance, in the context

 of the range of “about 7.6 to about 10” recited in claim 1, a POSITA would not have expected a

 controller programmed to maintain a desired pH setpoint of, e.g., 9.0 to permit the pH to drop

 below “about 7.6” before adding an alkaline source.


 77.    A CCP such as temperature provides an illustrative example. Temperature would have

 continuous monitoring with a chart recorder or such so that a trend could be observed with an

 increase in temperature by 1°C every hour. A POSITA could see that after 4 hours of production

 that the temperature would have increased 4°C and may be out of compliance. If the set point was

 35°C with a regulation that it must be under 40°C then the POSITA would know that they need to
                                                 28


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                                    1349
 change something or next hour it would be at 40°C and two hours later that it would be out of

 compliance at 41°C. In other words, the POSITA would seek to maintain the desired temperature

 through preemptive temperature alterations. The same would be true for pH.


                  1.      Zee’s proposed construction ignores the term “pH of about.”

 78.       It is also my opinion that a POSITA would have understood the term “about” to mean what

 it says: “about” or “approximately.” The specification repeatedly recites pH ranges using the

 phrase “a pH of about X to about X.” Nothing in the intrinsic evidence suggested to me that the

 patent applicants intended to limit the recited pHs to an exact range.


 79.       It is my opinion that a skilled artisan would have understood the plain and ordinary

 meaning of “altering the pH of the peracetic acid-containing water to a pH of about” [respective

 claimed pH range] to mean “adjusting the pH of the peracetic acid-containing water to a pH of

 about [respective claimed pH range].”


           D.     “after the step”

     Enviro Tech’s Proposed Construction                        Zee’s Proposed Construction
  Plain and ordinary meaning: subsequent to            STEP ORDER – This term requires each of the
                                                       steps recited must be performed in the order
                                                       written.


 80.       The term “after the step” is recited in claims 1, 6, 9, 10, 15, 18, 19, 22, 23, 24, 27, 28, 29,

 32, 33.


 81.       It does not appear that the parties’ proposed claim constructions significantly differ with

 one exception—it appears that Zee’s proposed construction seeks to import an additional limitation

 into this term that “after the step” means the step must occur exclusively after the proceeding step


                                                     29


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                                    1350
 without any intervening steps. I have provided my opinion as to how a skilled artisan would have

 understood the plain and ordinary meaning of this term.


 82.    It is my opinion that a POSITA would have understood “after the step” to be clear on its

 face, but “subsequent to” may provide further clarity. It is not clear to me how Zee’s construction

 would satisfactorily communicate the exclusive order mentioned above, but it is my understanding

 from counsel that this is the basis for Zee’s non-infringement explanation to Zee’s customers. To

 be clear, nothing in the claim would exclude continuous processes or the performance of

 intervening steps to a POSITA. In fact, a POSITA would have assumed such processes were

 intended to be covered based on the patent and its use in commercial poultry processing facilities.


                1.      Enviro Tech’s proposed construction is correct.

 83.    A POSITA reading the claims would understand that some steps must occur after, or

 subsequent to, other steps. That meaning includes continuous processes contained in other claims

 and does not preclude intervening steps. Instead, the claims state, for example in step [c] of claim

 1, that “after the step of determining the pH and altering the pH . . . placing into the peracetic acid-

 containing water at least a portion of a poultry carcass.” The plain language simply means that at

 some point after step [b] at least a portion of the poultry carcass should be added. Nothing in this

 language excludes other steps from happening before, after, or between steps [b] and [c]. For

 example, in a manual situation, an operator could add the appropriate amount of PAA solution

 and/or NaOH based upon pH and reservoir volume and moments later realize that the volume of

 the reservoir is too low for the current number of poultry carcasses. Before checking the current

 pH, the operator might then add more water, followed by measuring the pH to ensure compliance

 but realizing that the added water took the reservoir pH out of the desired range. The operator


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 would then repeat a previous step of adding PAA solution and/or NaOH to bring the pH into the

 desired range. Moreover, pH change is not instantaneous after adding the concentrated solution. It

 must mix within the reservoir. There could be an increase in the number of carcasses added before

 equilibrium or the pH goal is reached.


 84.    Believing “after the step” to require a specific, prescriptive order that must be completed

 beginning to end without any intervening steps creates limitations and directly contradicts the

 patent. A POSITA would expect additional language in the claim, such as “immediately after the

 step,” “only after step,” or “after step X but before step Y,” to communicate such an exclusive

 order. For example, when I am instructing students in my lab, if the experiment requires such a

 specific ordering of steps, I use these additional words to clearly communicate with my students.


 85.    Moreover, other claims would tell a POSITA that “after the step” does not require a specific

 order because the other claims recite that steps such as the determining steps “are performed

 continuously.” (claims 5, 6, 14, 15, 21, 22, 26, 27, 31, 32). As a result, even if there was some

 ambiguity in the meaning of “after the step” that could be read in a more limiting way, the other

 claims would clearly communicate to a POSITA that the order is not so prescriptive that a step

 could not be repeated or omitted if the goal or desired outcome of the step was already met.


 86.    The specification likewise supports this understanding. The ’321 patent specification

 discloses that “it is preferable to perform [the determining and altering steps] more than once, and

 [it is] most preferable to perform it continuously.” (Ex. B at 37:63-66). This shows that the general

 scope of the method described includes the preferred embodiment—the continuous processes.


 87.    Nothing in the prosecution history contradicts this meaning to a POSITA. The Examiner’s

 Amendment dated July 27, 2016, that added “after the step” does not provide any characterization
                                              31


Case 1:21-cv-00079-CEA-CHS Document 61-1 Filed 04/01/22 Page 32 of 35 PageID #:
                                    1352
 of “after the step.” (Ex. C at 629–34). Nothing in the Examiner’s Amendment would communicate

 to a POSITA that “after the step” takes any meaning other than its plain and ordinary meaning:

 “subsequent to.”


                2.      Zee’s proposed construction is unclear.

 88.    Zee’s construction is confusing. It is not clear to me, how, if at all they are attempting to

 limit the claim through the proposed constructions. In my years of teaching as a reference, when I

 am instructing students, I provide longer and more exact instructions to ensure that the instructions

 will be understood. The proposed construction by Zee Company appears limiting but also

 confusing as “Measuring the acidity or alkalinity” does add verbiage but does not add clarity while

 “STEP ORDER” provides me limitations to a methodology that was not there originally. As

 another example, when writing documents (grants, reviews, etc.) for the USDA, they typically

 remind us to write as though we were writing to a fourth-grade student. This is not to insult the

 reader, but to ensure that anything of complexity is clear as the composer does not know the level

 of understanding for the reader for that topic. The constructions proposed by Zee Company do not

 promote clarity of the subject such as “Measuring the acidity or alkalinity,” but seem to have a

 goal of promoting confusion of the subject and limitations to the topic.


 89.    It is my opinion that a skilled artisan would have understood “after the step” to mean

 “subsequent to.”


 IX.    CONCLUSION

 90.    In signing this declaration, I recognize that this declaration will be filed as evidence in this

 manner. I also recognize that I may be subject to cross-examination in the case and that cross-



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 examination will take place within the United States. If cross-examination is required, I will appear

 for cross-examination within the United States during the time allotted.




                                                  33


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 I hereby declare that all statements made herein are made of my own knowledge and are true and

 that all statements made on information and belief are believed to be true; and further that these

 statements were made with the knowledge that willful false statements and the like so made are

 punishable by fine or imprisonment, or both, under Section 1001 of Title 18 of the United States

 Code.




 Executed on this 1st day of April 2022.




 _________________________________


 Josh Herring, Ph.D.




 EXPERT DECLARATION OF JOSH HERRING, PH.D.
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